Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 1 of 19 PageID 2263



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION
 CHERYL WEIMAR,

       Plaintiff,

 v.                                            CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,

      Defendants.
 ________________________________/

            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                 AGAINST DEFENDANT RYAN DIONNE

       Plaintiff, Cheryl Weimar, by and through undersigned counsel, pursuant to

 Fed. R. Civ. P. 56(a), hereby files this Motion for Summary Judgment, moving this

 Honorable Court for entry of an Order granting judgment against Defendant, Ryan

 Dionne (“Dionne”), for his use of excessive force to cause harm to Plaintiff in

 violation of the Eighth Amendment to the United States Constitution. The

 indisputable evidence establishes that Defendant Dionne violated Plaintiff’s Eighth

 Amendment right to be free from cruel and unusual punishments by using excessive

 force on Plaintiff, causing her to suffer severe and permanent injuries. Accordingly,

 Plaintiff is entitled to summary judgment on her Eighth Amendment excessive force

 claim against Defendant Dionne.
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 2 of 19 PageID 2264



                                 INTRODUCTION

       This is a civil rights action for monetary damages. Plaintiff is currently

 incarcerated within the Florida Department of Corrections’ (“FDC”) prison system.

 On August 21, 2019, Defendant Dionne, an FDC correctional officer, violated

 Plaintiff’s Eighth Amendment right to be free from cruel and unusual punishments

 when he applied force maliciously and sadistically for the very purpose of causing

 harm to Plaintiff. To be clear, the undisputed, material facts establish the

 constitutional violation asserted against Defendant Dionne. After handcuffing

 Plaintiff, Defendant Dionne delivered lethal blows, which ultimately broke

 Plaintiff’s back and neck. As a result, Plaintiff is now permanently quadriplegic.

       Additionally, Defendant Dionne has invoked his Fifth Amendment privilege

 against compelled self-incrimination, and has chosen to maintain his silence as to

 the undisputed material facts that establish the constitutional violation asserted

 against him by Plaintiff. Indeed, Defendant Dionne has refrained from answering

 any questions related to the unlawful beating he inflicted upon Plaintiff. In short,

 Defendant Dionne has refused to respond to the allegations and probative evidence

 offered against him. Thus, the Court is entitled to, and should, draw adverse

 inferences against Defendant Dionne based on his repeated invocations of the Fifth

 Amendment and refusal to answer any questions pertaining to his actions and the

 events which caused Plaintiff’s permanent injuries and quadriplegia.


                                          2
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 3 of 19 PageID 2265



        In addition, but notwithstanding, to the adverse inferences that should be

 drawn from Defendant Dionne’s invocation of the Fifth Amendment and refusal to

 respond to the allegations and probative evidence against him, the overwhelming

 and undisputed evidence conclusively establishes that Defendant Dionne violated

 Plaintiff’s Eighth Amendment rights by using force maliciously and sadistically to

 cause harm to Plaintiff. Accordingly, Plaintiff is entitled to judgment as a matter of

 law on her Eighth Amendment excessive force claim against Defendant Dionne.

             STATEMENT OF UNDISPUTED, MATERIAL FACTS

        Plaintiff has been incarcerated and in the custody of the Florida Department

 of Corrections (“FDC”) since January 21, 2016. See, e.g., ECF No. 80-1 at FDC 03.1

 When Plaintiff entered FDC, she was not a quadriplegic and had full use of her

 extremities, aside from a bad back and hip, which regularly would cause her to walk

 with a limp. See id. at FDC 03-012; see also ECF No. 80-13 at ¶ 4 (Sworn Statement

 of Jessica Saleman).

        On August 21, 2019, Plaintiff was housed at the Lowell Work Camp. See ECF

 No. 80-14 at 7 (Lowell Work Camp Inmate List on August 21, 2019). Plaintiff’s

 work assignment was “houseman,” which required her to clean the bathrooms at the



 1
  Plaintiff’s FDC Medical Records are separated into 12 volumes (totaling 1147 pages). See ECF
 Nos. 80-1 (FDC 01-0110), 80-2 (FDC 0111-0211), 80-3 (FDC 0212-0299), 80-4 (FDC 0300-
 0411), 80-5 (FDC 0412-0521), 80-6 (FDC 0522-0628), 80-7 (FDC 0629-0725), 80-8 (FDC 0726-
 0835), 80-9 (FDC 0836-0928), 80-10 (FDC 0929-01036), 80-11 (FDC 01037-01141), 80-12 (FDC
 01142-01147).

                                              3
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 4 of 19 PageID 2266



 Work Camp, among other duties. See id.; ECF No. 80-15 at ¶ 3 (Sworn Statement

 of Cheryl Weimar); see also ECF No. 80-13 at ¶ 6. On August 21, 2019, Plaintiff

 was having hip and back problems and informed FDC staff that she was unable to

 continue cleaning the bathrooms. ECF No. 80-15 at ¶ 3. FDC staff became

 confrontational with Plaintiff after she stated that she could not clean the bathrooms,

 causing Plaintiff to declare a medical emergency. Id.; see also ECF No. 80-13 at ¶

 7. In response to Plaintiff declaring a medical emergency, Defendant Keith Turner

 (“Turner”) stated to Defendant Dionne—“Let’s go take care of this”—and the two

 officers went to the area of the Lowell Work Camp where Plaintiff was reportedly

 located. ECF No. 80-13 at ¶ 8. Minutes later, Plaintiff declared a psychological

 emergency. See ECF No. 80-13 at ¶ 9. Plaintiff has a known, and well-documented,

 history of mental disorders, including major depressive disorder, severe anxiety, and

 bipolar disorder. See ECF Nos. 80-1 at FDC 013; 80-8 at FDC 0799-0835; 80-9 at

 FDC 0836-0928; 80-10 at FDC 0929-0958; see also ECF No. 80-16 (Sworn

 Statement of Joyce Laberta).

       In response to Plaintiff declaring a medical and psychological emergency,

 Defendant Dionne and Defendant Turner walked Plaintiff out of the A-Dorm at the

 Work Camp. See ECF No. 80-17 at ¶ 3 (Affidavit of Victoria Scifo). Plaintiff was

 handcuffed from behind. Id; see also ECF No. 80-18 at ¶ 7 (Affidavit of Brittany

 Flutie Davis). Plaintiff began stating, “Ow that hurts” and “Please, that hurts.” ECF


                                           4
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 5 of 19 PageID 2267



 No. 80-17 at ¶ 4. Plaintiff was completely compliant while cuffed, not kicking or

 acting out. Id. at ¶ 4. Defendant Turner threw Plaintiff to the ground and, while

 Defendant Dionne was holding her down, began kneeing Plaintiff in the neck and

 back, approximately three times. Id. at ¶ 5; see also ECF No. 80-19 at ¶ 4 (Affidavit

 of Amanda Edwards). Plaintiff became soundless and motionless in response. ECF

 No. 80-17 at ¶ 6. Plaintiff’s head hit the ground before her body when Defendant

 Turner threw her to the ground. Id. Plaintiff was believed to be dead. Id. The

 repeated, forceful blows apparently knocked her unconscious. See ECF No. 80-19 at

 ¶ 6. Defendant Dionne and Defendant Turner then dragged the motionless body of

 Plaintiff to the Work Camp medical building across a big green field and pavilion,

 allowing her head to bobble like a rag doll with her eyes rolled back into her head.

 ECF Nos. 80-17 at ¶ 7; 80-13 at ¶ 10; 80-18 at ¶ 2; 80-19 at ¶ 6. Defendant Dionne

 later stated that he “beat [Plaintiff] stupid” because she couldn’t clean a toilet. ECF

 No. 80-17 at ¶ 12.

       As a result of the brutal beating by Defendants Dionne and Turner, Plaintiff

 suffered a broken back and neck and is now permanently quadriplegic. See ECF No.

 80-1 at FDC 019.

             Defendant Dionne’s Invocation of the Fifth Amendment

       Defendant Dionne invoked his Fifth Amendment privilege in response to all

 of Plaintiff written discovery requests to date, including Plaintiff’s First


                                           5
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 6 of 19 PageID 2268



 Interrogatories and Plaintiff’s Second Interrogatories. See ECF No. 80-22

 (composite exhibit). More importantly, Defendant Dionne invoked his Fifth

 Amendment right and refused to answer questions put to him at his deposition

 concerning his conduct and the events that occurred on August 21, 2019. See

 generally ECF No. 80-23. 2 For example, Defendant Dionne invoked his Fifth

 Amendment right when asked the following questions at his deposition:

           Q. Did you use force on Cheryl Weimar on August 21st, 2019? 3

           Q. Do you assert that Cheryl Weimar engaged in physical resistance in
              response to a lawful command given by you on August 21st, 2019?4

           Q. Did Cheryl Weimar disobey a lawful command given by you on
              August 21st, 2019? 5

           Q. Isn’t it true that on August 21st, 2019, Ms. Weimar engaged in no
              conduct that would have justified any use of force? 6

           Q. Isn’t it true that on August 1 21st, 2019, Ms. Weimar did not disobey
              any command given by you or Keith Turner? 7

           Q. Isn’t it true that Ms. Weimar did not strike you with her hands or
              arms at any point on August 21st, 2019? 8
 2
     See also ECF No. 80-24 (Exhibits to Defendant Turner and Dionne’s Depositions).
 3
   ECF No. 80-23 at 9:2-4. In response, Defendant Dionne stated, “I’m asserting my Fifth
 Amendment rights.” Defendant Dionne provided the same answer to every deposition question
 cited herein.
 4
     Id. at 9:15-18.
 5
     Id. at 9:19-21.
 6
     Id. at 9:22-25; see also id. at 13:24–14:2.
 7
     Id. at 10:1-4.
 8
     Id. at 10:21-23.



                                                   6
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 7 of 19 PageID 2269




           Q. Isn’t it true that Ms. Weimar did not strike you or kick you with her
              feet or legs on August 21st, 2019? 9

           Q. Now, on August 21st, 2019, did Ms. Weimar engage in any conduct
              that made you fear for the safety of yourself or any other employees
              at the Department of Corrections? 10

           Q. Now, in reading Miss Scifo’s affidavit do you disagree with any of
              the statements made in her affidavit in Exhibit 2? 11

           Q. Was Ms. Weimar being completely compliant and not kicking or
              acting out while she was cuffed with you? 12

           Q. Did you -- after Ms. Weimar was in handcuffs -- how about this, on
              August 21st, 2019, did you strike Ms. Weimar with either of your
              hands? 13

           Q. Specifically in Paragraph 4 it says, I saw Officer Dionne and
              Lieutenant Turner on each side of a white older female inmate. Next
              thing I saw the white 1 female was on the ground and Lieutenant
              Turner had his knee forcefully in her back. Is that statement by Miss
              Edwards false or incomplete? 14

           Q. Paragraph 6 specifically mentions you again. It says, Both Officer
              Dionne and Lieutenant Turner started dragging the white lady
              toward the medical unit. It looked like she was unconscious the way
              her head was wobbling around. Is that statement by Miss Edwards
              false or incomplete? 15

 9
     Id. at 10:24–11:1; see also id. at 29:4-6.
 10
      Id. at 13:14-18.
 11
      Id. at 24:4-7; see ECF No. 80-17.
 12
      ECF No. 80-23 at 25:12-14.
 13
      Id. at 25:20-23.
 14
      Id. at 29:24–30:6; see ECF No. 80-19 at ¶ 4.
 15
      ECF No. 80-23 at 30:10-17.



                                                     7
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 8 of 19 PageID 2270



           Q. You see in Paragraph 11 where it ends and it says that both you
              [Dionne] and Mr. Turner, quote, tossed Cheryl into the van without
              concern for her health or well-being. Is Miss Saleman lying in that
              statement? 16

           Defendant Dionne’s refusal to answer the substantive and specific questions

 cited above provides additional supporting evidence of the constitutional violation

 asserted against him. Consequently, Plaintiff is entitled to an adverse inference that

 the answers to such questions would not have been favorable to Defendant Dionne.

                                           ARGUMENT

 I.        Summary Judgment Standard
           Summary judgment is appropriate and should be granted when “the pleadings,
 depositions, answers to interrogatories and admissions on file, together with the
 affidavits, if any, show that there is no genuine issue of material fact and that the
 moving party is entitled to summary judgment as a matter of law.” Fed. R. Civ. P.
 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Everett v. Napper, 833
 F.2d 1507, 1510 (11th Cir. 1987).
           An issue of fact is “genuine” if the record as a whole could lead a rational trier

 of fact to find for the nonmoving party; however, the “mere existence of some
 alleged factual dispute between the parties will not defeat an otherwise properly
 supported motion for summary judgment; the requirement is that there be no genuine
 issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).
 “An issue of fact is ‘material’ if it is a legal element of the claim, as identified by the


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      Id. at 35:24–36:3; see ECF No. 80-13 at ¶ 11.


                                                      8
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 9 of 19 PageID 2271




 substantive law governing the case, such that its presence or absence might affect
 the outcome of the suit.” Tipton v. Bergrohr GMBH-Siegen, 965 F.2d 994, 998 (11th

 Cir. 1992) (citing Anderson, 477 U.S. at 248).
       A movant’s “burden under Rule 56 of ‘showing’ there are no genuine issues
 of material fact does not mandate citing record evidence at every turn.” Humphreys
 v. General Motors Corp., 839 F. Supp. 822, 825 (N.D. Fla. 1992). Conversely, in
 opposing summary judgment, “Rule 56(e) . . . requires the nonmoving party to go
 beyond the pleadings and by her own affidavits, or by the ‘depositions, answers to

 interrogatories, and admissions on file,’ designate ‘specific facts showing that there
 is a genuine issue for trial.’” Unum Life Ins. Co. of Am. v. Sisk, No. 4:12cv62-
 RH/CAS, 2012 U.S. Dist. LEXIS 184554, at *4 (N.D. Fla. Dec. 6, 2012) (quoting
 Owen v. Wille, 117 F.3d 1235, 1236 (11th Cir. 1997)).
       “The Eleventh Circuit has consistently held that conclusory allegations
 without specific supporting facts have no probative value, and are legally insufficient
 to defeat summary judgment.” United States v. Neely, No. 3:07cv217/MCR/EMT,
 2008 U.S. Dist. LEXIS 115307, at *8 (N.D. Fla. Sep. 29, 2008) (citing Leigh v.
 Warner Bros., Inc., 212 F.3d 1210. 1217 (11th Cir. 2000); Sammons v. Taylor, 967
 F.2d 1533, 1544-5 & n.5 (11th Cir. 1992)). Thus, “[t]he court is not obliged [] to
 deny summary judgment for the moving party when the evidence favoring the
 nonmoving party is ‘merely colorable or is not significantly probative.’” Id. at *7
 (quoting Anderson, 477 U.S. at 249-50). Additionally, while “facts must be viewed
 in the light most favorable to the nonmoving party,” such inferences are proper “only




                                           9
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 10 of 19 PageID 2272




 if there is a ‘genuine’ dispute as to those facts.” Ricci v. DeStefano, 557 U.S. 557,
 586 (2009) (emphasis added) (quoting Scott v. Harris, 550 U.S. 372, 380 (2007)).

       “[A]t the summary judgment stage, the judge’s function is not himself to

 weigh the evidence and determine the truth of the matter but to determine whether

 there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249

 (1986). “Essentially, the inquiry is ‘whether the evidence presents a sufficient

 disagreement to require submission to the jury or whether it is so one-sided that one

 party must prevail as a matter of law.’” Sawyer v. Sw. Airlines Co., 243 F. Supp. 2d

 1257, 1262 (D. Kan. 2003) (quoting Anderson, 477 U.S. at 251-52); see also

 LaRoche v. Denny’s Inc., 62 F. Supp. 2d 1366, 1371 (S.D. Fla. 1999) (“The law is

 clear . . . that suspicion, perception, opinion, and belief cannot be used to defeat a

 motion for summary judgment.”).

 II.   Defendant Dionne violated Plaintiff’s Eighth Amendment Right to be
       Free From Excessive Force

       A. Standard for Excessive Force Claims

       The “core judicial inquiry” on an Eighth Amendment excessive force claim is

 “whether force was applied in a good-faith effort to maintain or restore discipline,

 or maliciously and sadistically to cause harm.” Wilkins v. Gaddy, 559 U.S. 34, 37

 (2010) (citing Hudson v. McMillian, 503 U.S. 1, 7 (1992); and citing Whitley v.

 Albers, 475 U.S. 312, 319-321 (1986)).



                                           10
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 11 of 19 PageID 2273



       In determining whether force was applied maliciously and sadistically, courts

 consider the following factors: (1) the need for force; (2) the relationship between

 that need and the amount of force used; (3) the extent of the resulting injury; (4) the

 extent of the threat to the safety of staff and inmates, as reasonably perceived by the

 responsible official on the basis of facts known to that official; and (5) any efforts

 made to temper the severity of the use of force. Danley v. Allen, 540 F.3d 1298, 1307

 (11th Cir. 2008) (citing Whitley, 475 U.S. at 321), overruled on other grounds as

 recognized by Randall v. Scott, 610 F.3d 701 (11th Cir. 2010); see also Fennell v.

 Gilstrap, 559 F.3d 1212, 1217-20 (11th Cir. 2009) (applying these factors). Thus,

 when prison officials maliciously and sadistically use force to cause harm to an

 inmate, a constitutional violation is established.

       B. Defendant Dionne Used Excessive Force to Cause Harm to Plaintiff

       Under the five Whitley factors, the undisputed facts establish that Defendant

 Turner maliciously and sadistically used force to cause significant injury to Plaintiff.

       Plaintiff did not resist, refuse and order, or cause any disturbances which

 would have necessitated the use of force. Nevertheless, Defendant Dionne assisted

 Defendant Turner with throwing Plaintiff—who was handcuffed and compliant—to

 the ground and holding her down while Defendant Turner rammed his knee into her

 neck and back, breaking Plaintiff’s back and causing her to suffer severe injuries. As




                                           11
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 12 of 19 PageID 2274



 a result of Defendant Dionne’s malicious and sadistic use of force, Plaintiff suffers

 from permanent quadriplegia.

       First, there was clearly no need for force. Defendant Dionne knew that

 Plaintiff had declared a medical emergency and was present when Plaintiff declared

 a psychological emergency. Plaintiff was not resisting, causing any disturbances, or

 engaging in any conduct that would have justified the use of any force. See

 Thompson v. Sikes, No. 4:15cv253-MW/CAS, 2017 U.S. Dist. LEXIS 26385, at *10

 (N.D. Fla. Jan. 25, 2017) (“[I]f there is no disturbance, there is no need for force at

 all.”). In fact, the evidence is clear that Plaintiff was compliant at the time that she

 suffered her injuries. Defendant Dionne’s invocation of the Fifth Amendment when

 asked whether Plaintiff was resisting or causing a disturbance and whether use of

 force was justified further supports the undisputed evidence that there was no need

 for force. See ECF No. 80-23 at 9:15-25, 10:1-4, 10:21–11:1, 12:24–14:2, 29:4-6.

       Second, the amount of force used was clearly disproportionate to the amount

 of force required. Indeed, no force was required because, as explained above,

 Plaintiff was not resisting or causing a disturbance. She was handcuffed and

 compliant at the time she was brutally beaten. Nevertheless, Defendant Dionne

 assisted Defendant Turner with throwing Plaintiff to the ground and holding her

 down while Defendant Turner rammed his knee into her neck and back, breaking




                                           12
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 13 of 19 PageID 2275



 Plaintiff’s back and inflicting severe, permanent injuries. Defendant Dionne can

 provide no evidence to the contrary.

       Third, the extent of the resulting injury is so serious that only death could be

 worse. That is, Plaintiff has suffered permanent quadriplegia as a result of the

 unjustified, malicious, and sadistic force used by Defendant Dionne. To be sure,

 Plaintiff’s injuries are beyond dispute.

       The fourth Whitley factor weighs in favor of finding a constitutional violation

 as there is exists no evidence which would suggest Defendant Dionne reasonably

 perceived that Plaintiff was a threat to staff or other inmates. Plaintiff had declared

 a medical emergency as a result of her inability to work because of bad hip as well

 as a physiological emergency from the stress caused by Defendant Dionne’s savage

 aggression. Plaintiff was handcuffed and compliant throughout the entire incident.

 But that did not matter to Defendant Dionne; he wanted to “take care” of Plaintiff

 by “beating her stupid” because she was unable to clean a toilet. Moreover,

 Defendant Dionne invoked his Fifth Amendment privilege when asked whether

 Plaintiff posed a threat to staff or inmates. See ECF No. 80-23 at 13:14-18. Thus,

 Plaintiff should be entitled to an adverse inference to the fact that Plaintiff’s posed

 no threat or fear of harm to staff or inmates.

       Lastly, as to the fifth factor, the only way Defendant Dionne tempered the

 severity of his conduct is that, but for the grace of God, Plaintiff did not die as a


                                            13
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 14 of 19 PageID 2276



 result of Defendant Dionne’s malicious and sadistic conduct. After nearly beating

 Plaintiff to death, the key figures—Defendants Turner and Dionne—continued to

 drag Plaintiff’s seemingly lifeless body across the prison yard, allowing her head to

 bobble along the ground like a rag doll while her were eye rolled back into her head.

 To be sure, Plaintiff suffered severe and gruesome injuries—i.e., a broken back and

 neck—from the blows inflicted by Defendant Dionne, resulting in Plaintiff suffering

 from permanent quadriplegia. Although Plaintiff continues to live, her quality of life

 is minimal. Sparing Plaintiff’s death cannot be considered to have tempered the

 severity of wholly unnecessary and unjustified force used by Defendant Dionne.

       Thus, based on the undisputed material facts, Defendant Dionne applied force

 maliciously and sadistically for the sole purpose of causing harm to Plaintiff, thereby

 establishing a constitutional violation and entitling Plaintiff to summary judgment.

       C. This Court Should Draw Adverse Inferences Against Defendant
          Dionne From His Fifth Amendment Assertions

       In a civil suit, the court may draw adverse inferences against a party that

 invokes the Fifth Amendment. FTC v. Life Mgmt. Servs., 350 F. Supp. 3d 1246, 1260

 n.11 (M.D. Fla. 2018) (citing Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc.,

 561 F.3d 1298, 1304 (11th Cir. 2009); United States v. Two Parcels of Real Prop.

 Located in Russell Cty., 92 F.3d 1123, 1129 (11th Cir. 1996). “[T]he Fifth

 Amendment does not forbid adverse inferences against parties to civil actions when

 they refuse to testify in response to probative evidence offered against them.” Baxter

                                           14
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 15 of 19 PageID 2277



 v. Palmigiano, 425 U.S. 308, 318 (1976). “Th[is] rule allowing invocation of the

 privilege [by civil litigants], though at the risk of suffering an adverse inference or

 even a default, accommodates the right not to bear witness against oneself while still

 ting civil litigation to proceed.” Coquina Invs. v. TD Bank, N.A., 760 F.3d 1300,

 1310 (11th Cir. 2014) (citing Mitchell v. United States, 526 U.S. 314, 328 (1999)).

 “Use of the privilege in a civil case may, therefore, carry some disadvantages for the

 party who seeks its protection.” S.E.C. v. Graystone Nash, Inc., 25 F.3d 187, 190

 (3d Cir. 1994).

       However, “[t]he negative inference . . . to be drawn from the assertion of the

 Fifth Amendment does not substitute for evidence needed to meet the burden of

 production.” Avirgan v. Hul, 932 F.2d 1572, 1580 (11th Cir. 1991). In other words,

 “the adverse inference is insufficient by itself to allow summary judgment to be

 entered against a party. A party seeking summary judgment must establish

 independently the elements of the claim within the confines of Federal Rule of Civil

 Procedure 56.” SEC v. Simmons, No. 8:04-CV-2477-T-17MAP, 2008 U.S. Dist.

 LEXIS 124078, at *45-46 (M.D. Fla. Apr. 25, 2008). “It is the production of

 additional evidence above and beyond any negative inference to which Judge

 Johnson referred when he stated that the adverse inference may not be used to cause

 the ‘automatic entry of summary judgment.’” Id. (citing United States v. Premises




                                           15
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 16 of 19 PageID 2278



 Located at Route 13, 946 F.2d 749, 756 (11th Cir. 1991)); see also Pervis v. State

 Farm Fire & Casualty Co., 901 F.2d 944, 947 (11th Cir. 1990).

        Thus, when a party seeking summary judgment establishes independently the

 elements of the claim, the Court is permitted to, and should, draw adverse inferences

 based on Defendant’s decision not to answer questions put to him at his deposition.

 See Simmons, 2008 U.S. Dist. LEXIS 124078, at *46; see also Life Mgmt. Servs.,

 350 F. Supp. 3d at 1260 n.11 (stating “[t]here is ample evidence aside from [the

 Defendant’s] silence to support summary judgment in favor of Plaintiffs—[the

 Defendant’s] invocation of his Fifth Amendment right is cited as additional

 supporting evidence.”); Hamilton Grp. Funding, Inc. v. Basel, 311 F. Supp. 3d 1307,

 1316, 1320 (S.D. Fla. 2018) (granting summary judgment to the plaintiff

 notwithstanding the court’s agreement with the defendant that, “apart from the

 adverse inference it is required to draw against him, the information Plaintiff learned

 about possible sources of the leak would not be sufficient to meet its burden. But, all

 of these facts taken together permit the Court to find that there are no disputed facts

 as to all elements . . . .”).

        Here, Defendant Dionne has asserted the Fifth Amendment to all substantive

 questions that go to the heart of Plaintiff’s claims. See supra pp. 6-8; see also ECF

 Nos. 80-22, -23. Defendant Dionne has failed to participate in written discovery,

 invoking the Fifth Amendment in response to all substantive interrogatories. See


                                           16
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 17 of 19 PageID 2279



 ECF No. 80-22. Even more detrimental is that, when asked whether his prior

 statements concerning the incident on August 21, 2019, were accurate and truthful,

 Defendant Dionne invoked the Fifth Amendment and remained silent. See, e.g., ECF

 No. 80-23 at 47:14-19. When was asked whether the other FDC employee statements

 were false or accurate, Defendant Dionne invoked the Fifth Amendment and

 remained silent. See id. at 42:8-17, 43:21–44:6, 50:5-11, 52:9-12, 54:15-25, 55:20-

 25, 58:4-9, 60:20–61:1, 61:21-25, 63:4-14, 64:18-24, 65:23–66:10, 66:17–67:15.

 Moreover, when asked whether the inmate statements cited herein were an accurate

 summary of the interactions between Defendant Dionne and Plaintiff on August 21,

 2019, Defendant Dionne again invoked the Fifth Amendment and remained silent.

 See id. at 24:4-7, 29:20-23, 32:4-9, 38:16-19, 59:20-25.

       To be clear, Defendant Dionne’s invocation of the Fifth Amendment provides

 additional supporting evidence to the already sufficient, independent evidence

 establishing Defendant Dionne’s constitutional violation. Indeed, “[t]he Eleventh

 Circuit has described the permissible response in cases such as that of the

 Defendant’s invocation of his Fifth Amendment right, at his deposition and in

 response to discovery requests in the above-styled cause, as permitting the inference

 ‘that the answers to the questions would not have been favorable to the [individual]

 asserting the privilege.’” Hamilton Grp. Funding, Inc., 311 F. Supp. 3d at 1316

 (citing Two Parcels of Real Prop. Located in Russell Cty., 92 F.3d at 1129). Thus,


                                          17
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 18 of 19 PageID 2280



 under the circumstances, this Court must permit an adverse inference against

 Defendant Dionne based on his refusal to testify in response to the probative

 evidence offered against him. After all, “[t]he principle that the invocation of the

 privilege may not be too ‘costly’ does not mean that it must be ‘costless.’” S.E.C. v.

 Graystone Nash, Inc., 25 F.3d 187, 191 (3d Cir. 1994).

                                   CONCLUSION

       Accordingly, for the foregoing reasons, Plaintiff respectfully requests that this

 Court grant this Motion and enter summary judgment in favor of Plaintiff and against

 Defendant Dionne for applying excessive force to cause harm to Plaintiff, in

 violation of the Eighth Amendment.

                                        Respectfully submitted,

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                                          18
Case 5:19-cv-00548-CEM-PRL Document 83 Filed 02/11/20 Page 19 of 19 PageID 2281



                          CERTIFICATE OF SERVICE

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                                          19
